Filed 07/19/24                                                Case 22-22056                          Page 1 of 1
                                                                                                                     Doc 319


             UNITED STATES BANKRUPTCY COURT
             EASTERN DISTRICT OF CALIFORNIA
             PDF FILE WITH AUDIO FILE ATTACHMENT

                   2022-22056
                   David R. Michal



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                   Case Number :                  2022-22056
                   Case Title :                   David R. Michal

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